     Case 2:10-md-02179-CJB-DPC Document 8723 Filed 03/01/13 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG “DEEPWATER                              MDL No. 2179
HORIZON” IN THE GULF OF MEXICO, ON APRIL
20, 2010
                                                                        SECTION: J
IN RE THE COMPLAINT AND PETITION OF
TRITON ASSET LEASING GmbH, ET AL., IN A                                 JUDGE BARBIER
CAUSE OF EXONERATION FROM OR
LIMITATION OF LIABILITY                                                 MAGISTRATE SHUSHAN

This Document applies to:
C.A. No. 10-2771




TRANSOCEAN’S EX PARTE MOTION TO FILE UNDER SEAL ITS UNREDACTED
  “TRANSOCEAN’S FIRST AMENDED ANSWER TO BP PARTIES’ COUNTER-
COMPLAINT, CROSS-COMPLAINT, THIRD PARTY COMPLAINT, AND CLAIM IN
        LIMITATION” AND RELATED ATTACHMENTS [Dkt. 2074]

       Pursuant to Pre-Trial Order 13 [Dkt. No. 641], Transocean respectfully requests leave to

file under seal its unredacted “Transocean’s First Amended Answer to BP Parties’ Counter-

Complaint, Cross-Complaint, Third Party Complaint, and Claim in Limitation” and related

attachments. Pursuant to Paragraph 4.B of Pre-Trial Order No. 13 (“PTO No. 13”), a Producing

Party may designate all or any part of a document produced Confidential. Documents designated

Confidential must be filed under seal as an appendix to the filing that refers to the Confidential

Information. PTO No. 13 ¶ 8.B.

       The parts redacted from the publicly filed First Amended Answer to BP Parties’ Counter-

Complaint, Cross-Complaint, Third Party Complaint, and Claim in Limitation pertain to

documents designated Confidential by parties in this litigation and Exhibits 6, 7, 8, 9, 10, 11, 13,

14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 37, 38, 39, 40,
     Case 2:10-md-02179-CJB-DPC Document 8723 Filed 03/01/13 Page 2 of 3




42, 43, 44, 49, 51, 52, 53, 56, 57, 59, 61, 62, 64, 66, 67, 68, 70, 71, 73, 77, 78, 79, 81, 82, 84, 87,

90, 91, 92, and 93 are designated Confidential.


DATED: March 1, 2013                           Respectfully submitted,


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                                               2
     Case 2:10-md-02179-CJB-DPC Document 8723 Filed 03/01/13 Page 3 of 3




                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 1st day of March 2013, I electronically filed the foregoing

with the Court’s CM/ECF system and/or by using the LexisNexis File & Serve, in accordance

with Pretrial Order No. 12 which will send a notice of filing to all counsel accepting electronic

notice.

                                                             /s/ Kerry J. Miller________________
                                                              Kerry J. Miller




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